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IN THE CIRCUIT COURT OF THE SIXTH JUDICAL CIRCUIT
IN AND FOR PASCO COUNTY, FLORIDA
CIVIL DIVISION

NICHOLAS FRANCE AND
GRETCHEN FRANCE, individually,

Plaintiffs, Case No.:

 

V.

DITECH FINANCIAL, LLC, a foreign
limited liability company,

Defendant.
/

COMPLAINT AND JURY DEMAND

COMES NOW the Plaintiffs, Nicholas France and Gretchen France, by and
through the undersigned counsel, and file their Complaint and Jury Demand against the
Defcndant, Ditech Financial, LLC, and Would show:

INTRoD`uCTloN

This action arises out of the facts and circumstances surrounding the collection
of an alleged consumer debt. Plaintiff brings the action for statutory damages and actual
damages against the Defendant, as well as attorney’s fees and the costs of litigation for
the Defendant’s violations of the Florida Consumer Collection Practices Act, Title
XXXIII, Chapter 559, Part VI, Florida Statutes (“FCCPA”), the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), and violations of the Telephone
Consumer Practices Act, 47 U.S.C. § 227 et seq. (“TCPA”). These laws prevent

creditors and debt collectors from inter alia, engaging in abusive, unfair and deceptive

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debt collection practices, as well as regulate the type of telephone equipment
organizations may use to contact consumers for debt collection purposes
JURISDICTION AND VENUE

l. This is an action for money damages in excess of fifteen thousand dollars
($15,000.00) exclusive of costs and attorney’s fees.

2. Jurisdiction of this Court arises under 559.77(1). Fla. Stat. And 47 U.S.C.
§ 227(b)(3).

3. Venue lies in this district pursuant to 559.77(1). Fla. Stat. And 47 U.S.C. §
227(b)(3). `

4. Venue in this district is proper in that the Defendant conducts business

here, and the conduct complained of occurred here.

5. ms court has jurisdiction
PARTIES' ~
6.` , Plaintiff, Nicholas France,,,~is an individual, a natural person and a

“consumer” residing in PascofCounty, l?lorida, who is alleged to owe a debt to Ditech
Financial, LLC.

7. Plaintiff, Gretchen France, is an individual, a natural person and a
“consumer” residing in Pasco County, Florida, who is alleged to owe a debt to Ditech
Financial, LLC.

8. Plaintiffs, Nicholas and Gretchen France (“Plaintiffs” or “France”) have
been the object of collection activity arising from a “consumer debt” as defined by Fla.
Stat. § 559.55(6) and 15 U.S.C. § 1692a(5). The subject Debt was incurred primarily for

personal, family, or household purposes

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9. The Defendant, Ditech Financial, LLC (“Ditech” or “Defendant”), is a
foreign limited liability company that conducts business in Pasco County, Florida.

10. Defendant is engaged in the collection of consumer debts using the
telephone, the U.S. Mail, and all other means at its disposal. Defendant is a “debt
collector” as defined by the FCCPA.

11. At all times herein, Defendant was a “person” as defined by Section
559.55, Fla. Stat. See Schauer v. General Motors Acceptance Corp., 819 So. 2d 809 (Fla.
4‘*‘ DCA 2002).

12. At all times herein, the Defendant either acted on its own accord, or
through its agents, employees, officers, -members, directors, successors, assigns,
principals, trustees, sureties, subrogees, representatives and insurers

13. At all times material herein, Defendant"s conduct with regard to the debt,
complained of below, qualifies as “communication” as defined by Fla. Stat. § 559.55(2)
and 15 U.S.C. § 1692(a)(2).

0 14.' At all times materialherein, Defendant used, controlled, and/or operated
“autoniatic telephone dialing systems” as defined by the TCPA 47 U.S.C. § 227(a)(l) and
47 C.F.R. 64.1200(f)(l); which has the capacity to store or produce telephone numbers to be
called, using a random or sequential number generator to dial such numbers

FACTUAL ALLEGATIONS

15. On October 5, 2009, a Mortgage was recorded against France’s property
by virtue of a promissory note dated September 28, 2009 (the “debt”).

16. The subject debt was incurred primarily for personal, household or family

U.S€ .

 

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17. On or about May l, 2014 Ditech took over servicing of the debt and
reviewed and boarded the loan servicing and collateral files.

18. On or about December 16, 2015, Ditech initiated a foreclosure action
against France styled Ditech Financial, LLC v. France, et al., Case No. 2015-CA-04023
(Sixth Judicial Circuit, Pasco County, Florida) (the “debt collection action”).

19. Shortly, thereafter, France retained legal counsel, Andrew Lyons, Esq., to
represent them with respect to the debt and defend the foreclosure action and debt
collection. g

20. On or about January 25, 2016, Andrew Lyons, Esq., filed his appearance
as counsel on behalf of France with the relevant court and Ditech’s counsel

21. On July 12, 201`6,_Plainti~ffs filed their answer and affirmative defenses in
the Debt Collection Action`, Theanswer included a dispute of the validity of the debt as
follows: 70 0

Notice is hereby given thatthe Defendants dispute the amount

of the consumer debt asserted in Plaintiff’ s Complaint and

Plaintift’_s legal right to collect that debt. Accordingly,

Defendants demand strict compliance with the Fair Debt
f Collection ~_Practices Act.

22. 0 On `November 2, 2016, Andrew Lyons, Esq., sent Ditech a written
Demand for Verification of Debt and Notice to Cease and Desist (“Notice”)
communications with Plaintiffs. The Notice specifically stated that “[i]n addition to the
cessation of all debt collection communications, [borrower] hereby gives notice of

withdraw of any prior consent to be contacted for any purpose at home, at work, by

cellular phone, by mail, by email or otherwise.”

 

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23. France has been continuously represented by counsel with respect to the
debt from at least January 25, 2016, to the present and Ditech has always been aware of
France’s representation by legal counsel during this period.

24. Notwithstanding Ditech’s actual knowledge of France having retained
legal counsel with respect to the debt, Ditech contacted France directly on multiple
occasions for the purposes of collecting on the alleged consumer debt.

25. On or about May 2014, in an attempt to collect upon the debt, Ditech
commenced placing calls directly to France’s cellular telephones for the purposes of
collecting upon the debt.

26. Plaintiffs are the owners, regular users, and possessors of cellular
telephone numbers 727-XXX-0675 and;727-X)O(-10697. n n

27. At no time herein did VDitech have prior express consent to contact
Plaintiffs on their cellular telephones using an automated dialing system or artificial pre-
recorded voice. ' y

28. ii Ditech, and its representatives, agents, employees, or assigns have
telephoned Plaintiffsi cellular telephone on numerous occasions for the purposes of
collecting on the alleged debt, in violation of the TCPA, 47 U.S.C. § 227 et seq., and
Florida Consumer Practices Act, Fla. Stat. § 559.72(7) and § 559.72(18).

29. Upon information and belief, Ditech and its collectors and agents,
repeatedly used an automatic telephone dialing system to call Plaintiffs’ cellular telephone

in an attempt to collect on the alleged debt, and without Plaintiffs’ prior express consent

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30. France would often receive automated pre-recorded messages from
unanswered calls, requesting that Plaintiffs contact Ditech at 1-800-643-0202. Such
messages are indicative of the use of an automatic telephone dialing system.

31. Specifically, despite Ditech’s lack of consent to contact Plaintiffs on their
cellular telephones, Ditech contacted Plaintiffs’ cellular telephones, using an auto-dialer
to make each telephone call on May 8, 2014 at 9:50 A.M.; May 22, 2014 at 1:20 P.M.;
May 29, 2014 at 4:19 P.M.; May 30, 2014 at 11:55 A.M.; June 17, 2014 at 7:34 A.M.;
June 18, 2014 at 12:56 P.M. and 7:47 P.M.; June 19, 2014 at 8:04 A.M.; June 20, 2014 at
8:27 A.M.; June 23, 2014 at 7:47 A.M. and 5:09 P.M.; June 24, 2014, twice at 8:56 A.M.
and again at 12:59 P.M.; June 25, 2014_at 7;23 'A.M,~and twice at 10:41A.M.; June 26,
2014 at 9;36 A.M. and twice at io;z"sl~A'.M.'; nine 27, 2014 at 731AM 9:07 A.M. and
9:09 A.M.; June 28, 2014 at 7:28 AM. and 11:32 A.M.; June 30, 2014 twice at 7:50
A.M.; July 3, 2014 at 11:42 A.M., July 7,`2017 at 6103 P.M.; July 9, 2014 twice at 11:38
A.M.; July 10, 2014 at 11:57 A.M.; Juiy;12, 2014 twice at 8:07 A.M.; July 15, 2014 twice
at 5:00 P.M. and again at 720PM, July 17, 2014 twice at 9:49 A.M.; July 22, 2014
twice at 6:14 P;M,;"July`25j 2014 twice at 8:27 A.M.; July 26, 2014 twice at 9:42 A.M.;
July 28, 2014 AT 10:55 A.M.; July 29, 2014 twice at 9:45 A.M.; July 30, 2014 at 10:31
A.M.; July 31, 2014 twice at 7:32 P.M.; August 1, 2014 twice at 8:44 A.M.; August 4,
2014 at 12:56 P.M.; September 22, 2014 at 2:29 P.M.; September 23, 2014 at 12:07 P.M.;
September 24, 2014 at 12:39 P.M.; September 26, 2014 at 10:54 A.M.; November 5,
2014 at 4:20 P.M.; November 7, 2014 twice at 12:00 P.M.; November 10, 2014 at 7:11
A.M., 9:44 A.M., and twice at 11:18 A.M.; November 11, 2014 at 8:45 A.M.; November

12, 2014 twice at 2:22 P.M.; November 13, 2014 at 12:57 P.M.; November 13, 2014

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twice at 2157 P.M.; November 14, 2014 twice at 9:58 A.M.; November 15, 2014 twice at
8:11 A.M.; November 17, 2014 twice at 1:58 P.M.; November 18, 2014 twice at 2205
P.M.; November 19, 2014 twice at 6:54 P.M.; November 20, 2014 at 8:58 A.M. and 9:02
A.M.; November 21, 2014 twice at 7: 38 A.M.; November 21, 2014 twice at 11:01 A.M.
and twice at 1:25 P.M.; November 22, 2014 twice at 8:39A.M. and twice at 10:47 A.M.
This is merely a sampling of the calls as Plaintiffs received no less than three hundred
and twenty seven (327) calls from May 2014 through October 2017.

32. To the extent Ditech contends that it had consent pto contact France on
their cellular telephones, any such consent was revoked to make auto-dialed debt
collection calls to France’s cellular telephones the moment Ditech rpwas advised of
France’s representation by legal counsel_with respect to the Debt and.again when France
requested in writing and verbally~i'that all direct communications and calls cease.

33. Notwithstanding France having retained legal counsel and Ditech having
knowledge of this circumstancer,r_'and having received two or more specific requests to
cease and desist all communications Ditech has willfully and knowingly continued to
contact Plaintiffs directly on multiple occasions, via U.S. Mail and cellular telephone, for
the purposes of collecting on the debt.

34. Specifically, despite Ditech’s lack of consent to contact France on their
cellular telephones, and France’s withdraw of any such consent, Ditech continued to
place the following calls directly to France’s cellular telephones, using an auto-dialer to
make each telephone call on November 8, 2016 at 11:53 A.M.; November 15, 2016 at
11:11 A.M.; November 21, 2016 at 11:45 A.M.; November 28, 2016 at 5:55 P.M.;

November 28, 2016 at 7:26 P.M.; December 5, 2016 at 3:07 P.M.; December 12, 2016 at

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2203 P.M.; December 19, 2016 at 12:45 P.M.; December 27, 2016 at 3:32 P.M.; January
9, 2017 at 2:30 P.M.; January 23, 2017 at 12:58 P.M.; and January 30, 2017 at 4:42 P.M.
This is merely a sampling of the calls as Plaintiffs received no less than thirteen (13) calls
from November 2, 2016 to as recently as October 2017.

35. On March 8, 2017, at approximately 2140 P.M., Plaintiff, Gretchen France
answered one of Ditech’s collection calls to Plaintiffs’ cellular telephone number at 727-
XXX-0675. Upon answering the call, Ms. France experienced a period of silence for
several seconds, then a mechanical clicking noise prior to a live person coming onto the
line.

36. Upon information and belief, ;_the immediately aforementioned
characteristics of the telephone calls indicate that Ditech used an automatic telephone
dialing system (“auto-dialer”)'~ to place the telephone calls each time that it called
France’s cellular telephones

~ _37~._;~ During said collection telephone call from Ditech, Ms. France specifically
told a representative of Ditech to cease all direct communications, that she withdrew any
prior consent to be contacted, and that she was represented by legal counsel with respect
to the debt.

38. Despite Plaintiffs informing Defendant it did not have consent to call their
cellular telephones, Defendant continued to call their cellular telephone number 727-
XXX~0675, subsequent to the above conversation, using an auto-dialer to make each
telephone call, on March 15, 2017 at approximately 3:26 P.M. and March 24, 2017 at

approximately 4:32 P.M.

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39. In addition to the aforementioned automated collection calls, and
notwithstanding Ditech’s actual knowledge of France having retained legal counsel, and
having received a specific request to cease and desist all communications; Ditech has
willfully and knowingly continued to contact France directly on multiple occasions by
U.S. Mail for the purposes of collecting on the consumer debt.

40. On or about November 16, 2016; December 16, 2016; January 17, 2017;
February 16, 2017; March 16, 2017; and April 17, 2017; May 16, 2017; June 16, 2017;
July 17, 2017; August 16, 2017; September 16, 2017; and October `16, 2017 Ditech
contacted France for the purposes of collecting_on` the alleged debt via mail, by
requesting that France pay a certain amount of money by a date certain, and in direct
contravention of the notice of legal representation

41. The above referenced correspondence sent to France by Ditech further
asserted the right to collect, and in fact assessed late fees in the amount of $62.46 if
payment was`not received by the 16thof:each month.

0 42.' y By charging or threatening to charge a late fee on a debt which has been
accelerated since January 11, 2016, Ditech is claiming, attempting or threatening to assert
the existence of a legal right to charge late fees on an accelerated consumer debt when
Ditech has knowledge that such right does not exist.

43. On or about January 3, 2017; January 16, 2017; March 11, 2017; April 19,
2017; June 17, 2017; June 30, 2017; July 17, 2017; August 9, 2017; August 16, 2017; and
September 6, 2017, Ditech further contacted France for the purposes of collecting on the
alleged debt via mail, by sending correspondence requesting France submit documents to

be considered for loss mitigation options, by attempting to induce France to contact

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Ditech’s representatives to pay, settle the debt, or discuss loss mitigation in direct
contravention of the notice of legal representation

44. On or about June 6, 2017; Ditech further contacted France for the
purposes of collecting on the alleged debt via mail, by sending an escrow disclosure
notice indicating an escrow shortage of $2,132.22 and requesting that France pay the
same.

45. Ditech has contacted France by mail no less than twenty three (23) times
since November 2016, for the purposes of collecting on the alleged debt by requesting
that France pay a certain amount of money by_a datecertain,~:assessing a late fee, and
threatening to assess additional late fees if such amount is not ` paid; in direct
contravention of Ditech’s knowledge_`,of France’s representation by legal counsel and
request to cease and desist communications 0

46. Ditech has contacted France on_`their cellular telephones no less than three
hundred twenty¢seven (327) times since May 2014, for the purposes of collecting on the
alleged debt, using an automated dialer to make each call, without France’s prior express
consent.

47. The aforementioned conduct by Ditech has harassed or could be
reasonably expected to harass or abuse France at their home and place of employment by
willfully communicating with France frequently and regularly before the hours of 8:00
a.m., despite actual knowledge of France’s representation by legal counsel, and despite
France’s written and verbal requests that all communications cease.

48. Specifically, Plaintiffs endured continuous contacts from Ditech beginning

May 2014 and continuing, which include:

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a. Telephone calls to France’s residence more than once a Week;
b. Visits to France’s residence;

c. Letters, cards, telegrams, special delivery letters;

d. Threats to report France to other creditors or to a credit agency;
e. Threats to foreclosure upon France"s real estate;

f. Vague threats which worried France.

49. All three hundred twenty seven (327) of the aforementioned telephone
calls were willfully and knowingly made by Ditech to the:F_rance’s cellular telephones
after Ditech was made aware that France did not consentto receiving such calls.

50. France has retained the law firm of The Lyons Law Group, P.A. for the
purpose of pursuing the matter againstthe Defendant and is obligated to pay a reasonable
fee for their services

51. Pursuant to § 559.77, _Plaintiffs are each entitled an award of up to
$1,000.00 statutory damages against;_l)efendant per independent, temporally-displaced
violation, plus actual damagesj and an award of attorneys’ fees and costs to Plaintiffs
should they prevail in this matter against Defendant.

52. Pursuant to 15 U.S.C. § l692k, Plaintiffs are each entitled an award of up
to $1,000.00 statutory damages against Defendant, plus actual damages, and an award of
attomeys’ fees and costs to Plaintiffs should they prevail in this matter against Defendant

53. Pursuant to 47 U.S.C. § 227(b)(3), Plaintiffs are entitled to an award of up
to $500 or actual damages, whichever is greater, for each telephone call made using any
automatic telephone dialing system or an artificial or prc-recorded voice to their cellular

telephones Without prior express consent in violation of the TCPA.

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54. Pursuant to 47 U.S.C. § 227(b)(3), the trial court may increase damages up
to three times, or Sl,500.00 for each telephone call made using any automatic telephone
dialing system or an artificial prerecorded voice to Plaintiffs’ cellular telephones without
prior express consent iii willful or knowing violation of the TCPA.

55. All conditions precedent to the filing of the action have been completed or
have been waived.

CAUSES OF ACTION

CoUNT I ~ vioLATIoNs oF THE FLoRiDA CoNsUMER`CoLLEC'rIoNs
PRACTICES ACT` t ` ` `

56. Tliis is an action against the Defendant for violations of the FCCPA, Title
Xxxiii, Chapter 559, Part vi, Florida statutes 0 j

57. Plaintiff re-alleges and incorporates paragraphs 1-55 as though fully
restated herein. y 0

58. Defendant is subject~toand_has violated the provisions of Fla. Stat. §
559.72(~1_8):by intentionally and`repeatedly communicating with Plaintiffs by phone and
email in an attempt to collect a `debt, after being given actual notice that Plaintiffs are
represented by legal counsel with respect to the debt and Plaintiffs request that all
communications cease and desist.

59. Defendant has willfully communicated with Plaintiffs with such frequency
as can reasonably be expected to harass Plaintiffs in violation of Fla. Stat. § 559.72(7), by
repeatedly calling and contacting Plaintiffs no less than three hundred twenty seven (327)
times, sometimes before 8:00 a.m. and at other times which were inconvenient for

Plaintiffs, without Plaintiffs’ consent, after being given actual notice that Plaintiffs are

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represented by legal counsel with respect to the debt, and after receiving both written and
verbal requests that all direct communications with Plaintiffs cease.

60. Defendant has engaged in other conduct which can reasonably be expected
to abuse or harass Plaintiffs in violation of Fla. Stat. § 559.72(7), by repeatedly calling
and contacting Plaintiffs no less than three hundred twenty seven (327) timcs, sometimes
before 8:00 a.m. and at other times which were inconvenient for Plaintiffs, without
Plaintiffs’ consent, after being given actual notice that Plaintiffs are represented by legal
counsel with respect to the debt, and after receiving both written;_andve`rbal requests that
all direct communications with Plaintiffs cease. y ii y if

61. Defendant has sought to claim, attempt, or threaten to enforce a debt
which Defendant knows is not legitimate, or is asserting the existence of` some legal right
in violation of Fla. Stat. § 559.72(9), by seeking to`assess a late charge on a debt that has
been accelerated since January ll, 2016 in contravention of the Florida law.

62. The Defendant unlawfully,rusedan autodialer to call the Plaintiffs’ cellular
telephones at least three hundred twenty seven (327), without Plaintiffs’ express consent,
while knowing the conduct was prohibited under the TCPA, and in violation of Fla. Stat.
559.72(7), 559.~'72(9), and 559.72(18).

63. Defendant, directly or through agents, acted with actual malice or
deliberate oppression, or willfully, or with such gross negligence as to indicate a wanton
disregard of the rights of Plaintiffs, including Plaintiffs’ right to be left alone.

64. As a result of the forgoing violations of the FCCPA, Defendant is liable to
Plaintiffs for actual damages, statutory damages, attorney’s fees and the costs of litigation

pursuant to Section 559.77(2), Fla. Stat.

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WHEREFORE, Plaintiffs respectfully demand that the Court enter judgment in

Plaintiffs’ favor and against Defendant for:

a. Damages;
b. Attorney’s fees and the costs of litigation;
c. A permanent injunction enjoining Defendant from engaging in the

complained-of practices; and
d. Such other or further relief as the Court deems just and proper.
COUNT II- VIOLATIONS OF THE FAIR DEBT COLLECTION
PRACTICES ACT

65. This is an action against the Defendant for violations of the FDCPA, 15
U.S.C. § 1692 et seq., n

66. Plaintiff _re-al_leges` and incorporates paragraphs 1-55 as though fully
restated herein. y y

67. 9 Defendant is subject to and has violated the provisions of 15 U..S C. §
1692c(a)(2) by communicating with Plaintiffs despite Defendant’ s knowledge that Plaintiffs
are represented by legal counsel with respect to the debt, and despite having legal counsel’s
contact information

68. Defendant is subject to and has violated the provisions of 15 U.S.C. §
1692c(c) by communicating with Plaintiffs despite Plaintiffs’ written request to cease all
direct communications for purposes of collecting the debt.

69. The Defendant unlawfully used an autodialer to call the Plaintiffs’ cellular

telephones at least three hundred twenty seven (327) times, sometimes prior to 8200 a.m.,

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without Plaintiffs’ express consent, while knowing the conduct was prohibited under the
TCPA, and in violation of 15 U.S.C. § 1692d(5).

70. Defendant is subject to and has violated 15 U.S.C. § 1692e(2)(A),
1692e(10) and 1692f(l), by falsely representing the character, amount, or legal status of
the debt in seeking to claim the existence of some legal right to assess a late charge on a
debt that has been accelerated since January 11, 2016 in contravention of the Florida law.

71. Defendant, directly or through agents, acted with actual malice or
deliberate oppression, or willfully, or with such gross negligence as to* indicate a wanton
disregard of the rights of Plaintiff`, including Plaintiffs right to_be left alone.

72. As a result of the forgoing violations of the FDCPA, Defendant is liable to
Plaintiffs for actual damages, statutory damages,attorney’_s fees and the costs of litigation
pursuant to 15 U.S.C. §16921<. 9 n y 9 9

wHEREFoRE, Plaintiffs iespeetfuiiy deninnd that the Court enter judgment in

Plaintiffs’ favor and against Defendant for`:

a. Damages;
b. Attorney’s fees and the costs of litigation;
c.” A permanent injunction enjoining Defendant from engaging in the

complained-of practices; and

d. Such other or further relief as the Court deems just and proper.

COUNT III - VIOLATIONS OF THE
TELEPHONE CONSUMER PROTECTION ACT
62. This is an action against the Defendant for violations of the TCPA, 47

U.S.C. § 227 et Seq.

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63. Plaintiffs re-allege and incorporate paragraphs 1-55 as though fully
restated herein.

64. Defendant, in the conduct of its business, used an automated telephone
dialing system, as defined by 47 U.S.C. § 227(a)(1)(A) to place telephone calls to the
Plaintiffs’ cellular telephones

65. Section 47 U.S.C. § 227(b)(1)(A)(iii provides in pertinent part:

It shall be unlawful for any person within the United States -

(A) to make any call (other than a call made for emergency purposes or
made with the prior express consent of the called party) using any
automated telephone dialing system or an artificial or prerecorded
Voi§ieii;to any telephone number assigned to a paging service, cellular

telephone service, specialized mobile radio service, or other radio
common carrier service, or any service for which the called party is
charged for the call 1

66. Defendant`isisubject to, and has vielated the `TCPA by using an automated
telephone dialing system to call the `P_laintiffs’ cellular telephones, in excess of three
hundred twenty seven (327) times, without their prior express consent,

67. Defendant is subject to, and has violated the TCPA by delivering
prerecorded messages to the Plaintiffs’ cellular telephones without their prior express
consent,

68. Each of the telephone calls to the Plaintiffs’ cellular telephones were
knowingly, willfully and consciously made in violation of the TCPA, after the Plaintiffs

had specifically told the Defendant that it did not have their consent to call their cellular

telephones

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69. At no time herein did Defendants have Plaintiffs’ prior express consent to
call Plaintiffs on their cellular telephones

70. Even if Defendant did have such consent, such consent was revoked (i)
when Defendants were advised that Plaintiffs were represented by legal counsel with
respect to the debt, (ii) when Plaintiffs’ requested in writing that Defendant cease and
desist all direct communications and (iii) when Plaintiffverbally and explicitly requested
that Defendants stop calling her and revoked any prior express consent for Defendant to
call Plaintiffs’ cellular telephones using an automatic telephone dialing system or
prerecorded message

71. Prior express consent may be revoked using any reasonable method
including orally or in writing See 111 The iMatter chu`le_s & Regulations Implementing
the Telephone Consumer Prutectiolt Act of 199.1, `Declarato)yil‘tuli`ng and Order, FCC
15-72 (CG Dkt Ne. 02-278§ WC. Dkt. Nn. 07-_135) 11111"54 (Juzy 10, 2015). Even niui
instructions to cease calls effectively revokes any prior consent the caller claims they
may have"had. See Oso)fio v. State Farm Bank, F.S.B., 746 F.3d 1242 (l lth Cir. 2014).

72. Despite the"lack of any prior express consent, Defendants placed calls to
Plaintiffs cellular telephone using an automated electronic dialing device and by leaving
automated pre~recorded messages

73. Plaintiffs have not been able to record the specifics of each and every call
Defendants made to Plaintiffs on account of their personal and work commitments on
account of the sheer volume ol` calls, and due to the continued and increasing stress

associated with the continued barrage of debt collection calls

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74. None of the calls at issue were placed by Defendant to Plaintiffs’ cellular
telephones for "emergency purposes" as specified by the TCPA, 47 U.S.C. §227
(b)(l)(A)-

75. Defendant harassed Plaintiffs by incessantly calling Plaintiffs' cellular
telephone

76. Defendant’s phone calls hanned Plaintiffs by wasting Plaintiffs’ time,
causing untimely, constant interruptions and distractions, and depleted the battery life on
Plaintiffs’ cellular telephones 8

77. Defendant’s phone calls harmed Plaintiffs by using minutes or texting data
allocated to Plaintiffs’ cellular telephone service provider and may have also used storage
space on Plaintiffs’ phone.

78. The repeated phone calls '(including_the`tim`e of day and pattern) hanned
Plaintiffs by intruding upon`Plaintiffs’ seclusionand invading Plaintiffs’ privacy.

79.` The repeated phone calls harmed Plaintiffs by trespassing upon and
interfering with Plaintiffs’ rights,and interests in Plaintiffs’ cellular telephone lines

80. Congress enacted the TCPA to prevent real harm. Congress found that
“automated or pre-recorded calls are a nuisance and an invasion of privacy, regardless of
the type of call and determined that banning such calls made without consent was the
only effective means of protecting telephone consumers from the nuisance and privacy
invasion.”

81. Defendant’s phone calls harmed Plaintiffs by causing the very harm that

Congress sought to prevent - a “nuisance and invasion of privacy”.

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82. As a direct and approximate result of Defendant’s conduct, the Plaintiffs
have suffered: (a) The periodic loss of cellular telephone service, (b) The costs associated
with the usage of cellular telephone service during each call, (c) Statutory damages under
the TCPA, and (d) the expenditure of costs and attorney’s fees associated with the
prosecution of the matter, along with other damages which have been lost.

83. As a result of the above violations of the TCPA, the Defendant is liable to
the Plaintiffs for the amount of $500.00 as damages for each violation pursuant to the
TCPA, 47 U.S.C. § 227(b)(3)(B).

84. Based on the willful, knowingly, and intentional conduct of the Defendant
as described above, the Plaintiffs are also entitled`to an increase in the amount of the
award to treble the damages amount available under 47 U. S. C. § 227(b)(3)(B), in
accordance With 47 U S. C. § 227(b)(3).

WHEREFORE, the Plaintiffs respectfully request the Court enter judgment in
their favor and against the Defendant for: g

a. $500.00 statutory damages for each violation of the TCPA
pursuant to 47 U.S.C. § 227 (b)(3)(B);

b. t Treble statutory damages of $1,500.00 per knowing and willful
violation of the TCPA pursuant to 47 U.S.C. § 227 (b)(?));

c. Costs of litigation, and;

d. Such other or further equitable relief as the Court deems just and

proper under the circumstances

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Please take notice that the Plaintiffs respectfully demand trial by jury on all issues
so triable.

Dated this 8th day of November, 2017.

Respectfully Submitted,
THE LYONS LAW GROUP, P.A.

/s/ Rebbecca A. iGoodall
Andrew M~y Lyons[E/s'qz
Florida BarNo.: ~"00f11288
Rebbecca A. yGoodall, Esq.`

1 Florida Bar No.: 0115344
4103' Little Road c g c
New Port Richey, FL 34655
(727) 375-8900
(727),-375-2334 (fax)
Email~Service:
pleadings@lyonslawgroup.com
Attomeys for Plaintiffs,
Nicholas France and Gretchen France

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